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  8                          CENTRAL DISTRICT OF CALIFORNIA

  9
       BRIAN WHITAKER                                     Case: 2:20-cv-10886-FMO-AS
 10
                Plaintiff,                                Plaintiff’s Notice of Voluntary
 11                                                       Dismissal With Prejudice
         v.
 12
       KIKUE OTA, in individual and                       Fed. R. Civ. P. 41(a)(1)(A)(i)
 13    representative capacity as trustee of
       the Kikue Ota Living Trust;
 14    RESTAURANTE JUQUILA INC., a
       California Corporation
 15
                Defendants.
 16
 17           PLEASE TAKE NOTICE that Plaintiff Brian Whitaker, hereby

 18   voluntarily dismisses the above captioned action with prejudice pursuant to

 19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).

 20           Defendants Kikue Ota, in individual and representative capacity as

 21   trustee of the Kikue Ota Living Trust and Restaurante Juquila Inc., a

 22   California Corporation have neither answered Plaintiff’s Complaint, nor filed

 23   a motion for summary judgment. Accordingly, this matter may be dismissed

 24   without an Order of the Court.
      Dated: March 4, 2021                    CENTER FOR DISABILITY ACCESS
 25
 26
                                              By: /s/ Amanda Seabock
 27
                                              Amanda Seabock
 28                                           Attorney for Plaintiff


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                     Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                 Federal Rule of Civil Procedure 41(a)(1)(A)(i)
